       CASE 0:24-cv-01743-JMB-DTS              Doc. 1     Filed 05/14/24       Page 1 of 20




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

 CITY OF HOLLYWOOD FIREFIGHTERS’                    Civ. A. No. _____________
 PENSION FUND, individually and on behalf
 of all others similarly situated,                  CLASS ACTION

                       Plaintiff,                   COMPLAINT FOR VIOLATIONS OF
                                                    THE FEDERAL SECURITIES LAWS
               v.
                                                    JURY TRIAL DEMANDED
 UNITEDHEALTH GROUP INC., ANDREW
 WITTY, STEPHEN HEMSLEY, and BRIAN                  ECF CASE
 THOMPSON,

                       Defendants.

       Plaintiff City of Hollywood Firefighters’ Pension Fund (“Plaintiff”), by and through its

counsel, alleges the following upon information and belief, except as to those allegations

concerning Plaintiff, which are alleged upon personal knowledge. Plaintiff’s information and

belief are based upon, inter alia, counsel’s investigation, which included review and analysis of:

(i) regulatory filings made by UnitedHealth Group Inc. (“UnitedHealth” or the “Company”) with

the United States Securities and Exchange Commission (“SEC”); (ii) press releases, presentations,

and media reports issued by and disseminated by the Company; (iii) analyst and media reports

concerning UnitedHealth; and (iv) other public information regarding the Company.

                                        INTRODUCTION

       1.      This securities fraud class action is brought on behalf of all persons or entities that

purchased shares of UnitedHealth’s common stock between March 14, 2022, and February 27,

2024, inclusive (the “Class Period”). The claims asserted herein are alleged against UnitedHealth

and certain of the Company’s senior executives (collectively, “Defendants”), and arise under




                                      {BMF-W0360243.2}1
       CASE 0:24-cv-01743-JMB-DTS             Doc. 1    Filed 05/14/24      Page 2 of 20




Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and Rule

10b-5, promulgated thereunder.

       2.      UnitedHealth is a health care and well-being company comprised of two distinct

and complementary businesses: Optum and UnitedHealthcare. UnitedHealthcare provides health

insurance to individuals, employers, and small businesses and is the largest insurance provider in

the United States. Optum provides healthcare-related services, including software solutions,

payment services, and data analytics.

       3.      Optum is one of the two leading companies in the health insurance market for first-

pass claims editing. First-pass claims editing, which is used to process all claims that a health

insurer receives, determines whether a particular claim should be paid or rejected. Another

important input for U.S. health insurance markets are Electronic Data Interchange (“EDI”)

clearinghouses, which enable the transmission of claims, remittances, and other critical

information between payers and providers. Prior to the Class Period, UnitedHealth operated an

EDI clearinghouse through Optum and UnitedHealthcare was its largest customer.

       4.      On January 6, 2021, UnitedHealth announced an agreement to acquire Change

Healthcare (“Change”) and integrate it into its existing Optum business. Change is a healthcare

technology company that provides data solutions aimed at improving clinical decision making and

simplifying payment processes across the healthcare system. Change provides the market leading

product in claims editing and also operated the largest EDI clearinghouse in the United States. As

a result, Change has access to a significant amount of customer sensitive information (“CSI”) and

claims data. In addition, some of Change’s customers grant “secondary-use rights” to this data,

giving Change the right to use the data for purposes beyond providing EDI clearinghouse service.




                                                2
       CASE 0:24-cv-01743-JMB-DTS              Doc. 1     Filed 05/14/24      Page 3 of 20




       5.      In response to the January 6 announcement, on February 24, 2022, the U.S.

Department of Justice (“DOJ”) filed a lawsuit challenging UnitedHealth’s acquisition of Change.

The DOJ alleged that the proposed acquisition would violate antitrust laws because the integration

of Change and Optum would give UnitedHealth unparalleled access to information regarding

nearly every health insurer, as well as health data on every single American. UnitedHealth assured

the DOJ, investors and customers that Optum would “maintain robust firewall processes” to

prevent CSI from being shared between Optum and UnitedHealthcare.

       6.      In May 2022, prior to the start of the antitrust trial, UnitedHealth created a new

firewall policy for Optum and UnitedHealthcare which addressed the sharing of CSI following the

acquisition. This firewall policy was issued to specifically address the Change acquisition and

designed to keep Optum and UnitedHealthcare data separate post-merger.

       7.      In September 2022, the DOJ tried its antitrust lawsuit against UnitedHealth in the

United States District Court for the District of Columbia. The court in the antitrust action

ultimately permitted the acquisition, repeatedly crediting UnitedHealth’s firewall policy and

commitment to preventing the sharing of data between UnitedHealthcare and Optum as the

rationale for allowing the deal to proceed. In the decision, the court explained that UnitedHealth

“has maintained a corporate antitrust firewall that expressly prohibits the sharing of CSI between

business units” and found that the “widespread use of firewalls in the industry, United[Health]’s

history of compliance with its own firewalls, the customer contracts, and the convincing testimony

from senior executives about United[Health]’s practices and incentives-weighs strongly against

the Government’s position.”

       8.      The truth emerged on February 27, 2024, when the Wall Street Journal reported

that the DOJ had re-opened its antitrust investigation into UnitedHealth. In that article, the public




                                                 3
       CASE 0:24-cv-01743-JMB-DTS              Doc. 1     Filed 05/14/24      Page 4 of 20




learned for the first time that the DOJ was investigating the relationships between the Company’s

various segments, including Optum. As a result of this disclosure, the price of UnitedHealth stock

declined by $27 per share, erasing nearly $25 billion in shareholder value.

       9.      UnitedHealth was aware of the DOJ investigation since at least October 2023.

Instead of disclosing this material investigation to investors or the public, UnitedHealth insiders

sold more than $120 million of their personally held UnitedHealth shares. In the four months

between learning about the DOJ investigation and the investigation becoming public,

UnitedHealth’s Chairman Stephen Hemsley sold over $102 million of his personally held

UnitedHealth shares and Brian Thompson, the CEO of UnitedHealthcare, sold over $15 million of

his personally held UnitedHealth shares.

                                JURISDICTION AND VENUE

       10.     The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)), and Rule 10b-5 promulgated thereunder (17 C.F.R. §

240.10b-5). This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.

§§ 1331 and 1337 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

       11.     Venue is proper in this District pursuant to Section 27 of the Exchange Act (15

U.S.C. § 78aa) and 28 U.S.C. § 1391(b).          UnitedHealth is headquartered in Minnetonka,

Minnesota, which is situated in this District, conducts substantial business in this District, and

many of the acts and conduct that constitute the violations of law complained of herein, including

dissemination to the public of materially false and misleading information, occurred in and/or were

issued from this District. In connection with the acts alleged in this Complaint, Defendants,

directly or indirectly, used the means and instrumentalities of interstate commerce, including, but




                                                 4
       CASE 0:24-cv-01743-JMB-DTS               Doc. 1     Filed 05/14/24      Page 5 of 20




not limited to, the mails, interstate telephone communications, and the facilities of the national

securities markets.

                                             PARTIES

       A.      Plaintiff

       12.     Plaintiff City of Hollywood Firefighters’ Pension Fund is a pension fund

established for the benefit of the current and retired firefighters of the City of Hollywood, Florida.

Plaintiff manages over $300 million in assets for its beneficiaries. As indicated on the Certification

submitted herewith, Plaintiff purchased UnitedHealth common stock at artificially inflated prices

during the Class Period and suffered damages as a result of the violations of the federal securities

laws alleged herein.

       B.      Defendants

       13.     Defendant UnitedHealth is an American multinational health insurance and

services company based in Minnetonka, Minnesota. The Company’s headquarters are located at

9900 Bren Road East, Minnetonka, Minnesota. The Company’s common stock trades on the

NYSE under ticker symbol “UNH.” As of April 30, 2024, UnitedHealth had over 920 million

shares of common stock outstanding, owned by hundreds or thousands of investors.

       14.     Defendant Andrew Witty (“Witty”) is, and was at all relevant times, Chief

Executive Officer of UnitedHealth.

       15.     Defendant Stephen Hemsley (“Hemsley”) is, and was at all relevant times,

Chairman of the Company’s Board of Directors.

       16.     Defendant Brian Thompson (“Thompson”) is, and was at all relevant times, Chief

Executive Officer of UnitedHealth’s insurance segment, UnitedHealthcare.




                                                  5
       CASE 0:24-cv-01743-JMB-DTS              Doc. 1     Filed 05/14/24     Page 6 of 20




       17.     Defendants Witty, Hemsley, and Thompson are collectively referred to hereinafter

as the “Individual Defendants.” The Individual Defendants, because of their positions with

UnitedHealth, possessed the power and authority to control the contents of the Company’s reports

to the SEC, press releases, and presentations to securities analysts, money and portfolio managers,

and institutional investors. Each of the Individual Defendants was provided with copies of the

Company’s reports and press releases alleged herein to be misleading prior to, or shortly after,

their issuance and had the ability and opportunity to prevent their issuance or cause them to be

corrected. Because of their positions and access to material non-public information available to

them, each of the Individual Defendants knew that the adverse facts specified herein had not been

disclosed to, and were being concealed from, the public, and that the positive representations which

were being made were then materially false and/or misleading.

               DEFENDANTS’ MATERIALLY FALSE AND MISLEADING
             STATEMENTS CAUSE SUBSTANTIAL LOSSES TO INVESTORS

       18.     The Class Period begins on March 14, 2022, the first trading day after UnitedHealth

filed its Answer to the allegations in the complaint filed by the DOJ in the United States District

Court for the District of Columbia. In response to the DOJ’s concerns, UnitedHealth publicly

“agreed to make binding commitments to its customers and the Government” to “maintain its

robust firewall processes—and extend them to Change’s business—to protect sensitive customer

data and provide information to customers to allow them to verify those firewall processes.”

       19.     A March 17, 2022, document titled “Benefits of Combination with Change

Healthcare” that was posted on the Company’s website addressed the DOJ’s lawsuit and stated

that “Optum will maintain robust firewall processes and extend them to Change Healthcare’s

business—to protect sensitive customer data and provide information to customers to allow them

to verify those firewall processes.” UnitedHealth also avowed that Optum “invests extraordinary



                                                 6
       CASE 0:24-cv-01743-JMB-DTS                Doc. 1     Filed 05/14/24     Page 7 of 20




time, money, and resources into safeguarding [CSI] and keeping it walled off from

UnitedHealthcare” and that “UnitedHealth Group’s existing firewalls and data-security policies

prohibit employees from improperly sharing external-customer CSI.”

       20.       On April 5, 2022, UnitedHealth filed a press release with the SEC on Form 8-K. In

the press release, UnitedHealth stated that the DOJ’s lawsuit challenging the Change acquisition

was “meritless.”

       21.       Then, in May 2022, UnitedHealth adopted a new firewall policy relating to the

proposed acquisition of Change. The policy explicitly addressed the sharing of customers’ CSI

between Optum and UnitedHealthcare and stated:

                “The disclosure of External Customer CSI to [UnitedHealth] business units that are

                 competitors of such External Customers is strictly prohibited”;

                “The use of External Customer CSI to benefit [UnitedHealth] business units that

                 are competitors of such External Customers is strictly prohibited”;

                UnitedHealth employees “may not access External Customer CSI unless such

                 access is necessary to perform their job responsibilities”;

                “External Customer CSI shall be logically separated from other [UnitedHealth]

                 business unit data within Electronic Data Sites”; and

                “No employees of other [UnitedHealth] business units that are competitors of an

                 External Customer shall have access to the location where External Customer CSI

                 is stored within such Electronic Data Slides.”

       22.       On June 14, 2022, UnitedHealth published its annual Sustainability Report. In the

report, the Company declared that it was “focused” on “maintaining data privacy and

cybersecurity” and recognized its “obligation” to “protect the information of all those we serve.”



                                                   7
       CASE 0:24-cv-01743-JMB-DTS              Doc. 1     Filed 05/14/24     Page 8 of 20




UnitedHealth continued to assert that it was “required to safeguard personal information

reasonably and appropriately” and that the “[p]rimary tools used to fulfill these obligations are

cybersecurity and data privacy programs.” Further, the Sustainability Report explained that

UnitedHealth “manages a robust Information Security Risk Management and Privacy Program

that improves its ability to make risk-informed decisions by conducting systematic and structured

reviews of information security risks.” The results of these internal audits are then “communicated

to executive leadership and presented to the Audit and Finance Committee of the Board of

Directors quarterly.”

       23.     Similarly addressing the Company’s data protection policies in the Sustainability

Report, UnitedHealth explained that its “data protection policy applies to all lines of business and

subsidiaries” and that its “Code of Conduct outlines our commitment to protecting the information

entrusted to us. Supported by a comprehensive set of principles, our policies and programs

describe appropriate uses of data and the safeguards that protect the confidentiality and integrity

of our systems.” These policies include “enterprise information security policies,” “privacy and

data protection policies,” and “an incident management program that encompasses cybersecurity,

privacy and compliance obligations.”

       24.      On November 29, 2022, UnitedHealth held its annual Investor Conference,

materials for which were publicly released the prior day, on November 28. The Conference Book

highlighted the Company’s “long-established firewalls and strong legal, reputational, ethical and

financial incentives to protect patient and customer information.”

       25.     On June 1, 2023, Defendant Witty represented UnitedHealth at the Bernstein

Strategic Decisions Conference. During the conference, Defendant Witty acknowledged the

Company’s firewall requirements, noting that UnitedHealth was focused on improving




                                                 8
        CASE 0:24-cv-01743-JMB-DTS               Doc. 1      Filed 05/14/24       Page 9 of 20




performance by “exploiting the core synergy between Optum and UnitedHealthcare as much as

we possibly can appropriately, of course, given the firewall requirements [that] are needed there.”

        26.     Throughout the Class Period, UnitedHealth’s Code of Conduct also stated that

Optum’s “provider businesses contract with competitors of UnitedHealthcare and may receive

competitively-sensitive information, which must be protected, and sharing the data requested

without review and approval by legal counsel could be a form of unfair competition.”

        27.     The statements set forth above in ¶¶18-26 were materially false and misleading. In

truth, UnitedHealth never established proper firewalls between Optum and UnitedHealthcare as

required by its own policy, and as it told the court in the antitrust action, the DOJ and investors it

would do. Firewalls were never properly created for certain business applications. Despite

assurances to the contrary, there was never a meaningful technological separation between Optum

and UnitedHealthcare that prevented the sharing of CSI.

                                     THE TRUTH EMERGES

        28.     On February 27, 2024, the Wall Street Journal reported that the DOJ had re-opened

its antitrust investigation into UnitedHealth. In that article, the public learned for the first time that

the DOJ was investigating the relationships between the Company’s various segments, including

Optum. As a result of these disclosures, the price of UnitedHealth stock declined by $27 per share.

        29.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                         LOSS CAUSATION

        30.     During the Class Period, as detailed herein, Defendants made materially false and

misleading statements and omissions, and engaged in a scheme to deceive the market. This




                                                    9
       CASE 0:24-cv-01743-JMB-DTS                Doc. 1      Filed 05/14/24      Page 10 of 20




artificially inflated the price of UnitedHealth’s common stock and operated as a fraud or deceit on

the Class (as defined below). Later, when it was disclosed to the market that an antitrust

investigation was again launched against Defendants, the price of UnitedHealth’s stock fell

precipitously, as the prior artificial inflation came out of the price over time. As a result of their

purchases of UnitedHealth stock during the Class Period, Plaintiff and other members of the Class

suffered economic loss, i.e., damages, under the federal securities laws.

                                 CLASS ACTION ALLEGATIONS

        31.       Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure on behalf of all persons who purchased or otherwise acquired the publicly

traded common stock of UnitedHealth during the Class Period (the “Class”). Excluded from the

Class are Defendants and their families, directors, and officers of UnitedHealth and their families

and affiliates.

        32.       The members of the Class are so numerous that joinder of all members is

impracticable. The disposition of their claims in a class action will provide substantial benefits to

the parties and the Court. As of January 31, 2024, UnitedHealth had over 921 million shares of

common stock outstanding, owned by hundreds or thousands of investors.

        33.       There is a well-defined community of interest in the questions of law and fact

involved in this case. Questions of law and fact common to the members of the Class which

predominate over questions which may affect individual Class members include:

                  (a)    Whether Defendants violated the Exchange Act;

                  (b)    Whether Defendants omitted and/or misrepresented material facts;




                                                    10
         CASE 0:24-cv-01743-JMB-DTS            Doc. 1      Filed 05/14/24      Page 11 of 20




                (c)     Whether Defendants’ statements omitted material facts necessary in order

to make the statements made, in light of the circumstances under which they were made, not

misleading;

                (d)     Whether the Individual Defendants are personally liable for the alleged

misrepresentations and omissions described herein;

                (e)     Whether Defendants knew or recklessly disregarded that their statements

and/or omissions were false and misleading;

                (f)     Whether Defendants’ conduct impacted the price of UnitedHealth common

stock;

                (g)     Whether Defendants’ conduct caused the members of the Class to sustain

damages; and

                (h)     The extent of damage sustained by Class members and the appropriate

measure of damages.

         34.    Plaintiff’s claims are typical of those of the Class because Plaintiff and the Class

sustained damages from Defendants’ wrongful conduct.

         35.    Plaintiff will adequately protect the interests of the Class and has retained counsel

experienced in class action securities litigation. Plaintiff has no interests which conflict with those

of the Class.

         36.    A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Joinder of all Class members is impracticable.

                      INAPPLICABILITY OF STATUTORY SAFE HARBOR

         37.    UnitedHealth’s “Safe Harbor” warnings accompanying its forward-looking

statements issued during the Class Period were ineffective to shield those statements from liability.




                                                  11
      CASE 0:24-cv-01743-JMB-DTS             Doc. 1     Filed 05/14/24      Page 12 of 20




       38.     Defendants are also liable for any false or misleading forward-looking statements

pleaded herein because, at the time each such statement was made, the speaker knew the statement

was false or misleading and the statement was authorized and/or approved by an executive officer

of UnitedHealth who knew that the statement was false. None of the historic or present tense

statements made by Defendants were assumptions underlying or relating to any plan, projection,

or statement of future economic performance, as they were not stated to be such assumptions

underlying or relating to any projection or statement of future economic performance when made,

nor were any of the projections or forecasts made by Defendants expressly related to, or stated to

be dependent on, those historic or present tense statements when made.

                              PRESUMPTION OF RELIANCE

       39.     At all relevant times, the market for UnitedHealth’s common stock was an efficient

market for the following reasons, among others:

               (a)    UnitedHealth common stock met the requirements for listing, and was listed

and actively traded on the NYSE, a highly efficient and automated market;

               (b)    As a regulated issuer, UnitedHealth filed periodic public reports with the

SEC and NYSE;

               (c)    UnitedHealth regularly and publicly communicated with investors via

established market communication mechanisms, including through regular disseminations of press

releases on the national circuits of major newswire services and through other wide-ranging public

disclosures, such as communications with the financial press and other similar reporting services;

and

               (d)    UnitedHealth was followed by securities analysts employed by major

brokerage firm(s) who wrote reports which were distributed to the sales force and certain




                                               12
       CASE 0:24-cv-01743-JMB-DTS              Doc. 1     Filed 05/14/24      Page 13 of 20




customers of their respective brokerage firm(s). Each of these reports was publicly available and

entered the public marketplace.

        40.     As a result of the foregoing, the market for UnitedHealth common stock promptly

digested current information regarding UnitedHealth from all publicly available sources and

reflected such information in the price of UnitedHealth common stock.                  Under these

circumstances, all purchasers of UnitedHealth common stock during the Class Period suffered

similar injury through their purchase of UnitedHealth common stock at artificially inflated prices

and the presumption of reliance applies.

        41.     A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972).

The Class’s claims are grounded on Defendants’ material omissions of information that was

necessary to render Defendants’ statements not misleading. Defendants’ repeated references to

the Company’s firewall processes created an obligation on Defendants to disclose the material

deficiencies in those firewalls which, among other things, did not prevent the sharing of CSI

between divisions of the Company.

                                     CLAIMS FOR RELIEF

                                             COUNT I

              For Violations of Section 10(b) of the Exchange Act and Rule 10b-5
                                    Against All Defendants

        42.     Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        43.     During the Class Period, Defendants carried out a plan, scheme, and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing




                                                 13
      CASE 0:24-cv-01743-JMB-DTS              Doc. 1     Filed 05/14/24      Page 14 of 20




public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

other members of the Class to purchase UnitedHealth common stock at artificially inflated prices.

       44.     Defendants: (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (iii) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s common stock in an effort

to maintain artificially high market prices for UnitedHealth common stock in violation of Section

10(b) of the Exchange Act and Rule 10b-5, promulgated thereunder.

       45.     Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about the Company’s

financial well-being, operations, and prospects.

       46.     During the Class Period, Defendants made the false statements specified above,

which they knew or recklessly disregarded to be false and misleading in that they contained

misrepresentations and failed to disclose material facts necessary in order to make the statements

made, in light of the circumstances under which they were made, not misleading.

       47.     Defendants had actual knowledge of the misrepresentations and omissions of

material fact set forth herein, or recklessly disregarded the true facts that were available to them.

Defendants engaged in this misconduct to conceal UnitedHealth’s true condition from the

investing public and to support the artificially inflated prices of the Company’s common stock.

       48.     Plaintiff and the Class have suffered damages in that, in reliance on the integrity of

the market, they paid artificially inflated prices for UnitedHealth common stock. Plaintiff and the

Class would not have purchased the Company’s common stock at the prices they paid, or at all,




                                                   14
       CASE 0:24-cv-01743-JMB-DTS             Doc. 1     Filed 05/14/24     Page 15 of 20




had they been aware that the market prices for UnitedHealth common stock had been artificially

inflated by Defendants’ fraudulent course of conduct.

        49.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases of the

Company’s common stock during the Class Period.

        50.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act

and Rule 10b-5, promulgated thereunder.

                                            COUNT II

                       For Violations of Section 20(a) of the Exchange Act
                               Against the Individual Defendants

        51.     Plaintiff repeats, incorporates, and realleges each and every allegation set forth

above as if fully set forth herein.

        52.     The Individual Defendants acted as controlling persons of UnitedHealth within the

meaning of Section 20(a) of the Exchange Act.           By virtue of their high-level positions,

participation in and/or awareness of the Company’s operations, direct involvement in the day-to-

day operations of the Company, and/or intimate knowledge of the Company’s actual performance,

and their power to control public statements about UnitedHealth, the Individual Defendants had

the power and ability to control the actions of UnitedHealth and its employees. By reason of such

conduct, the Individual Defendants are liable pursuant to Section 20(a) of the Exchange Act.

                                      PRAYER FOR RELIEF

        53.     WHEREFORE, Plaintiff prays for judgment as follows:

                A.      Determining that this action is a proper class action under Rule 23 of the

Federal Rules of Civil Procedure;




                                                15
      CASE 0:24-cv-01743-JMB-DTS              Doc. 1      Filed 05/14/24     Page 16 of 20




               B.       Awarding compensatory damages in favor of Plaintiff and other Class

members against all Defendants, jointly and severally, for all damages sustained as a result of

Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

               C.       Awarding Plaintiff and the Class their reasonable costs and expenses

incurred in this action, including attorneys’ fees and expert fees; and

               D.       Awarding such equitable/injunctive or other further relief as the Court may

deem just and proper.

                                        JURY DEMAND

       54.     Plaintiff demands a trial by jury.

DATED: May 14, 2024                                 LOCKRIDGE GRINDAL NAUEN P.L.L.P.

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                                                 16
CASE 0:24-cv-01743-JMB-DTS   Doc. 1   Filed 05/14/24      Page 17 of 20




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                                Hollywood Firefighters’ Pension Fund




                              17
  CASE 0:24-cv-01743-JMB-DTS              Doc. 1     Filed 05/14/24      Page 18 of 20




                         CERTIFICATION PURSUANT TO
                        THE FEDERAL SECURITIES LAWS

        I, Jason Rosner, on behalf of City of Hollywood Firefighters' Pension Fund
("Hollywood Firefighters"), hereby certify, as to the claims asserted under the federal
securities laws, that:

   1. I am the Chairman of Hollywood Firefighters. I have reviewed the complaint with
      Hollywood Firefighters' legal counsel. Based on legal counsel's knowledge and
      advice, Hollywood Firefighters has authorized the filing of the complaint.

   2. Hollywood Firefighters did not purchase the securities that are the subject of this
      action at the direction of counsel or in order to participate in any action arising
      under the federal securities laws.

   3. Hollywood Firefighters is willing to serve as a representative party on behalf of the
      Class, including providing testimony at deposition and trial, if necessary.

   4. Hollywood Firefighters' transactions in the UnitedHealth Group Inc. securities that
      are the subject of this action are set forth in the chart attached hereto.

   5. Hollywood Firefighters has sought to serve and was appointed as a lead plaintiff
      and representative party on behalf of a class in the following actions under the
      federal securities laws filed during the three-year period preceding the date of this
      Certification:

        City ofHollywood Firefighters' Pension Fund v. Inspire Medical Systems, Inc.,
                                No. 23-cv-3884 (D. Minn.)
            City ofHollywood Firefighters' Pension Fund v. Atlassian Corporation,
                                 No. 23-cv-519 (N.D. Cal.)

   6. Hollywood Firefighters has sought to serve as a lead plaintiff and representative
      party on behalf of a class in the following action under the federal securities laws
      filed during the three-year period preceding the date of this Certification, but either
      withdrew its motion for appointment as lead plaintiff or was not appointed lead
      plaintiff:

                  Vazquez v. Masimo Corporation, No. 23-cv-1546 (S.D. Cal.)

   7. Hollywood Firefighters is currently seeking to serve as a lead plaintiff and
      representative party on behalf of a class in the following action under the federal
      securities laws filed during the three-year period preceding the date of this
      Certification:

                   Skolnick v. Evolution AB (publ), No. 24-cv-326 (E.D. Pa.)
 CASE 0:24-cv-01743-JMB-DTS             Doc. 1     Filed 05/14/24      Page 19 of 20




   8. Hollywood Firefighters will not accept any payment for serving as a representative
      party on behalf of the Class beyond Hollywood Firefighters' pro rata share of any
      recovery, except such reasonable costs and expenses (including lost wages) directly
      relating to the representation of the Class, as ordered or approved by the Court.

      I declare under penalty of perjury that the foregoing is true and correct. Executed
this 3 day of May, 2024.



                                   Ja on Ro er, hairman
                                     ty of ol wood Firefighters' Pension Fund
 CASE 0:24-cv-01743-JMB-DTS         Doc. 1     Filed 05/14/24   Page 20 of 20




City of Hollywood Firefighters' Pension Fund
Transactions in UnitedHealth Group Inc.

 Transaction       Date       Shares         Price

  Purchase       6/6/2022      1,520     491.5366
  Purchase      6/13/2022       480      471.2224
  Purchase      6/30/2022       130      514.3200
  Purchase      11/15/2022      270      502.5000
  Purchase      12/19/2022      230      524.0250
  Purchase      12/19/2022       30      524.2467
  Purchase       1/13/2023      270      508.1634
  Purchase       1/23/2023      180      483.8750
  Purchase       1/23/2023       85      483.8660
  Purchase       1/31/2023      480      496.5596
  Purchase      3/13/2023        10      467.1519
  Purchase      3/13/2023       100      462.6900
  Purchase      3/13/2023       200      463.0646
  Purchase      9/12/2023       240      482.1700
  Purchase      9/22/2023       550      506.9224

     Sale        7/24/2023     (600)     507.7750
